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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

ITSERVE ALLIANCE, INC., et al.,      )
                                     )
        Plaintiffs,                  )
                                     )
v.                                   ) No. 1:18-cv-02350-RMC
                                     ) (Lead case for consolidated briefing)
UNITED STATES CITIZENSHIP            )
AND IMMIGRATION SERVICES,            )
                                     )
        Defendant.                   )

     GOVERNMENT’S SUPPLEMENTAL FILING IN SUPPORT OF ITS CROSS-
                 MOTION FOR SUMMARY JUDGMENT
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       United States Citizenship and Immigration Services (“USCIS”) provides the following

response to the questions raised by the Court at oral argument on May 9, 2019.

       As more fully set forth below, there is no need for discovery as to whether the 2018

Guidance Memorandum constitutes a legislative rule because there are no factual disputes with

respect to Plaintiffs’ claim seeking the invalidation of this document. Additionally, the pace at

which USCIS adjudicates H-1B visa petitions is not properly before the Court because Plaintiffs

have not raised this issue in any of their pleadings or briefing. But even if Plaintiffs did, none of

them have standing to raise such a claim. Further, even if at least one of the plaintiffs had

standing to raise such a claim, it would fail as a matter of law under existing D.C. Circuit case

law and for the reasons set forth in the declaration from Donald W. Neufeld, USCIS Associate

Director for Service Center Operations (“SCOPS”), (“Neufeld Decl.”), attached as Exh. 1, and

the declaration of Carolyn Q. Nguyen, Acting Associate Center at the California Service Center

(“CSC”), attached as Exh. 2.

       1. Discovery as to whether the 2018 Guidance Memorandum is a legislative rule is
          inappropriate because there are no factual disputes with respect to this question.

       As a general rule, judicial review under the APA is limited to discrete agency action. 5

U.S.C. § 702 (“A person suffering legal wrong because of agency action, or adversely affected or

aggrieved by agency action within the meaning of a relevant statute, is entitled to judicial review

thereof”); Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 890 (1990) (discussing this principle).

Programmatic challenges lacking “some concrete action applying the regulation to the claimant's

situation in a fashion that harms or threatens to harm him” do not qualify as agency action.

Lujan, 497 U.S. at 891. The Supreme Court recognized that the “case-by-case approach” is




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“understandably frustrating,” but it “remains the normal, mode of operation of the courts.” 497

U.S. at 894.1

       In addition, the challenged agency action must be “final.” 5 U.S.C. § 704 (authorizing

judicial review under APA of “[a]gency action made reviewable by statute and final agency

action for which there is no other adequate remedy in a court”). Final agency action “must

generally mark the consummation of the agency’s decisionmaking process and either determine

rights or obligations or result in legal consequences.” Ctr. for Auto Safety v. Nat’l Highway

Traffic Safety Admin., 452 F.3d 798, 800 (D.C. Cir. 2006) (quotations and citations omitted).

Legislative rules are, by definition, final agency action, while interpretive rules and general

policy statements are not. Id. at 805–07; see also Broadgate Inc. v. U.S. Citizenship &

Immigration Servs., 730 F. Supp. 2d 240, 243 (D.D.C. 2010) (discussing these principles).

       Here, Plaintiffs seek to sidestep Lujan’s prohibition on programmatic challenges by

contending that USCIS’ 2018 Guidance Memorandum is actually a legislative rule and thus,

constitutes final agency action that should be subject to judicial review and ultimately




1
   Federal judges in this District have cited Lujan as a basis for challenging how USCIS runs
foreign worker programs. See, e.g., Arden Wood, Inc. v. USCIS, 480 F. Supp. 2d 141 (D.D.C.
2007); RCM Technologies v. DHS, 614 F. Supp. 2d 39 (D.D.C. 2009). In Arden Wood, a number
of Christian Science nursing associations, challenged a purported USCIS policy of denying
religious work petitions on the basis that plaintiffs were not bona fide religious organizations.
480 F. Supp. 2d at 145. Plaintiffs cited instances where its petitions had been denied on these
grounds, but they did not contest the individual denials. Rather, plaintiffs sought injunctive
relief regarding the purported policy. Id. The district court found that such a broad policy attack
is precluded under Lujan, because it fails to present a justiciable case or controversy. Id. at 150.
Similarly, in RCM Technologies, plaintiffs challenged USCIS’ policy of using the U.S.
Department of Labor’s Occupation Outlook Handbook to determine the minimum education
requirements for physical and occupations therapists in the H-1B program. 614 F. Supp. 2d at
39. The district court found that the plaintiffs’ challenge to a USCIS adjudication policy was not
reviewable and that plaintiffs were required to challenge a discrete agency action. Id. at 45.
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invalidated. This Court ordered supplemental briefing on whether discovery would be

appropriate under these circumstances.

       Discovery of any kind under these circumstances is not appropriate. The D.C. Circuit has

explained that whether a guidance document “is a legislative rule is largely a legal, not a factual,

question, turning as it does in this case primarily upon the text of the Document.” Gen. Elec. Co.

v. E.P.A., 290 F.3d 377, 380 (D.C. Cir. 2002) (finding that the challenge to the guidance

memorandum is ripe); see generally, Sierra Club v. Mainella, No. CIV.A. 04-2012 JDB, 2005

WL 3276264, at *9 (D.D.C. Sept. 1, 2005) (explaining, in the context of a challenge to a

guidance memorandum, that the “regulations and documents speak for themselves . . . no

discovery is appropriate”).2 Courts examine the text of the document and ask: (i) does the

document express the agency’s intention as to whether it is a legislative rule, (ii) does the

document amend a prior legislative rule, and (iii) does the document leave adjudicators free to

exercise their discretion pursuant to a policy? See Funeral Consumer Alliance, Inc. v. FTC, 481

F.3d 860, 863-64 (D.C. Cir. 2007); Ctr. for Auto Safety v. NHTSA, 452 F.3d 798, 806 (D.C. Cir.

2006); Am. Min. Cong. v. Mine Safety & Health Admin., 995 F.2d 1106, 1109 (D.C. Cir. 1993).3


2
  This is consistent with fundamental principles of administrative law. Ordinarily, judicial
review under the APA is confined to “the full administrative record that was before the Secretary
at the time he made his decision.” Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.
402, 420 (1971), abrogated on other grounds by Califano v. Sanders, 430 U.S. 99 (1977). Thus,
discovery in an APA case is generally not permitted. See Hill Dermaceuticals, Inc. v. FDA, 709
F.3d 44, 47 (D.C. Cir. 2013); Chiayu Chang v. United States Citizenship & Immigration Servs.,
254 F. Supp. 3d 160, 162 (D.D.C. 2017) (Bates, J.) (collecting cases).
3
  The D.C. Circuit recognized that it “does not matter” that an interpretative rule reflects a
change in how the agency interprets an existing regulation. Ass’n of Flight Attendants-CWA, 785
F.3d at 713 (explaining that an agency can promulgate freely interpretative rules regardless of
whether they are consistent with earlier interpretations without employing notice-and-comment
rulemaking). Agencies may also issue a policy statement explaining how the agency will
enforce a statute or regulation, in other words how it will exercise its enforcement discretion.
See id. 716 (D.C. Cir. 2015); see also, Indep. Equip. Dealers Ass’n v. E.P.A., 372 F.3d 420, 427
(D.C. Cir. 2004) (“We have held that we lacked authority to review claims where an agency
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       “[T]he mere fact that an interpretive rule may have a substantial impact does not

transform it into a legislative rule.” Cent. Texas Tel. Co-op., Inc. v. F.C.C., 402 F.3d 205, 214

(D.C. Cir. 2005) (explaining that courts no longer use the substantial impact test to determine

whether a document constitutes a legislative rule; citations and quotations omitted); see Cabais v.

Egger, 690 F.2d 234, 237 (D.C. Cir. 1982) (reversing and explaining that “[s]imply because

agency action has substantial impact does not mean it is subject to notice and comment if it is

otherwise expressly exempt under the APA”). Rather, if the document interprets an existing

requirement, it is an interpretative rule and, therefore, exempt from notice and comment

rulemaking. See Cabais, 690 F.2d at 237 (recognizing that a rule may be an interpretative rule

even if it “has a wide ranging effect”) (citations and quotations omitted).

       Here, Plaintiffs move for summary judgment seeking to invalidate the 2018 Guidance

Memorandum. They are not seeking discovery or contending, under Fed. R. Civ. P. 56(d), that

there are factual disputes that must be resolved before this Court can rule on whether the 2018

Guidance Memorandum constitutes a legislative rule. To the contrary, Plaintiffs indicated in

their Amended Complaint that they were raising a facial challenge to the 2018 Guidance

Memorandum. See Dkt. 6 at ¶ 208 (“This policy is facially binding on Plaintiff’s member

companies”). Plaintiffs’ position is that the 2018 Guidance Memorandum, on its face, imposes

binding requirements on H-1B petitioners. As these assertions fall squarely within the

parameters of the APA, it is neither appropriate, nor necessary, for the parties to engage in



merely expresses its view of what the law requires of a party”) ((Roberts, J.; citations and
quotations omitted); see also St. Croix Chippewa Indians of Wis. v. Kempthorne, No. CIV. 07-
2210 (RJL), 2008 WL 4449620, at *6 (D.D.C. Sept. 30, 2008) (finding that guidance
memorandum is not a legislative rule because it “does not command the reviewer to deny or
grant the pending application in a given circumstance”), aff’d sub nom. St. Croix Chippewa
Indians of Wis. v. Salazar, 384 F. App’x 7 (D.C. Cir. 2010).

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discovery under these circumstances. Rather the role of this Court, under the claims being

presented in this matter, is to review the 2018 Guidance Memorandum to determine whether, on

its face, Plaintiffs’ claim is correct and, if not, dismiss it as a matter of law.

        Additionally, discovery into the facts surrounding the legal questions in this matter will

not aid in the resolution of any issue before the Court. For example, discovery as to USCIS’

training materials or hiring practices will not shed any light on whether the 2018 Guidance

Memorandum reflects the agency’s intention as to whether it constitutes a legislative rule, see

Ctr. for Auto Safety, 452 F.3d at 806, or whether it amends a prior legislative rule. See Funeral

Consumer Alliance, 481 F.3d at 863-64. Further, discovery is unnecessary to determine whether

the 2018 Guidance Memorandum imposes additional requirements on petitioners seeking H-1B

temporary workers. A review of the 2018 Guidance Memorandum and related regulations on

their face make this plain – that the requirements discussed within the memorandum predate its

issuance in 2018. See Ctr. for Auto Safety, 452 F.3d at 806, 809.

        Relatedly, questions about why USCIS decided to issue the 2018 Guidance Memorandum

would not aid the Court in the resolution of any issue in this case and, moreover, are generally

not subject to judicial review. See United States v. Morgan, 313 U.S. 409, 422, 429 (1941)

(explaining that it is generally “not the function of the court to probe the mental processes of the

Secretary . . . the integrity of the administrative process must be . . . respected”) (citations

omitted); see generally, San Luis Obispo Mothers for Peace v. U.S. Nuclear Regulatory

Comm’n, 789 F.2d 26, 44 (D.C. Cir. 1986) (recognizing that there must be “a strong showing of

bad faith or improper behavior before inquiry into the mental processes of the administrative

decisionmaker may be made”) (quotations and citations omitted). This type of inquiry is

particularly problematic because it would necessarily implicate the deliberative process



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privilege, see NLRP v. Sears, Roebuck & Co., 421 U.S. 132, 150 (1975), and, to the extent

agency counsel was involved, the attorney-client privilege. See Tax Analysts v. I.R.S., 117 F.3d

607, 618 (D.C. Cir. 1997) (recognizing that in “the governmental context, the “client” may be the

agency and the attorney may be an agency lawyer”).

       To be clear, discovery is unnecessary as to whether USCIS requires H-1B petitioners to

demonstrate an employer-employee relationship or provide an itinerary for locations of H-1B

temporary workers in certain instances. USCIS does not dispute that these requirements exist,

but instead points out that these requirements stem from the 1991 Rule, which was promulgated

using notice-and-comment rulemaking. Because these requirements within the H-1B temporary

worker visa program have been on the books for nearly 28 years, discovery into whether USCIS,

prior to the 2018 Guidance Memorandum, required H-1B petitioners to provide evidence of an

employer-employee relationship and, where appropriate, an itinerary of where the beneficiary

will be working would serve no purpose. These requirements stem from binding regulations that

the agency is not free to ignore. Moreover, a survey of decisions by USCIS’ Administrative

Appeals Office (“AAO”), prior to 2018, indicates that USCIS repeatedly denied H-1B petitions

that did not meet these two longstanding requirements. See, e.g., Matter of M-, 2015 WL

6501464 at *2-7 (AAO Oct. 7, 2015) (dismissing appeal because the software business failed to

demonstrate an employer-employee relationship with the programmer analyst); In re Petitioner

[Identifying Information Redacted by Agency], 2015 WL 1904879 at *13 (AAO April 6, 2015)

(discussing the employer-employee requirement in the context of an “IT staffing, solution, and

service company” petitioning on behalf of a system analyst and finding that the agency must

focus on the touchstone of “control” in determining whether there is an employer-employee

relationship); In re Petitioner [Identifying Information Redacted by Agency], 2014 WL 4114012



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*6 (AAO May 1, 2014) (finding that IT consulting business failed to provide sufficient evidence

to establish an employer-employee relationship with programmer analyst); Matter of S-, 2016

WL 1168732 at *12 (AAO March 11, 2006) (dismissing appeal because the IT services firm

petitioning on behalf of a DCNI Network Engineer failed to provide “reliable documentation

corroborating the Petitioner’s assertions that it supervises and controls all aspects of the

Beneficiary’s off-site work”).

       In reviewing these administrative appeal decisions, it is clear that USCIS’ position was,

and continues to be, that it is not enough that the petitioner merely hired the beneficiary or had

an employment agreement with the beneficiary. Rather the burden is on the petitioner to

demonstrate that it has the right to control the beneficiary. See, e.g., Matter of S-, 2016 WL

1168732 at *12-13 (finding that even if the Petitioner established that it would provide the

beneficiary’s salary and other employment benefits, this is insufficient to show that there is an

employer-employee relationship); Matter of M-, 2015 WL 6501464 at *6-7 (finding that the

mere existence of a document styled “employment agreement” was not dispositive and that

petitioner failed to provide sufficient documents demonstrating the “right to control” the

beneficiary); In re Petitioner [Identifying Information Redacted by Agency], 2015 WL 1904879

at *14-15 (“There is a lack of evidence establishing the petitioner’s right to control . . . The

petitioner failed to establish such aspects of the employment, such as who will oversee the day-

to-day work of the beneficiary and who will be responsible for his performance evaluations”); In

re Petitioner [Identifying Information Redacted by Agency], 2014 WL 4114012 *6 (AAO May 1,

2014) (finding that “the record does not contain any agreements or contracts with the end-client .

. . demonstrating that the beneficiary would be working there and who would be supervising the

beneficiary at the end-client’s location”).



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       In addition, even before the 2018 Guidance Memorandum, USCIS enforced the itinerary

regulatory requirement. See, e.g., Matter of S-, 2016 WL 1168732 at *6-7 (finding that although

the petitioner submitted an itinerary on its letterhead, the AAO could not determine that the

petitioner “has work for the Beneficiary that will continue through the end of the requested

validity period”); In re Petitioner at 3 (AAO Nov. 1, 2011) (available at

https://www.uscis.gov/sites/default/files/err/D2%20%20Temporary%20Worker%20in%20a%20

Specialty%20Occupation%20or%20Fashion%20Model%20(H1B)/Decisions_Issued_in_2009/A

ug042009_21D2101.pdf) (Exh. 3) (explaining that IT consulting service was not relieved of its

obligation of providing an itinerary simply because it does not know what projects it would

assign the beneficiary).

       Along similar lines, USCIS required petitioners, including IT petitioners, to provide

evidence of non-speculative qualifying work in support of their H-1B petitions. See, e.g., Matter

of J-S-T Inc., 2016 WL 3194527 (AAO May 24, 2016) (finding that computer software

consultancy service petitioning for a software engineer did not establish that the petition was

filed for “definite, non-speculative work requiring the theoretical and practical application of at

least a bachelor’s degree level of a body of highly specialized knowledge in a specific specialty”)

(case previously cited);4 Matter of M-, 2015 WL 6501464 at *9-10 (finding that “the record of

proceeding lacks sufficient probative evidence from the end-client . . . regarding the specific

duties to be performed by the Beneficiary for that company and the requirements for the

position”); In re Petitioner [Identifying Information Redacted by Agency], 2014 WL 4114012 at




4
 The AAO noted that a petitioner is certainly permitted to change its intent with regard to “non-
speculative employment, e.g. a change in duties or job location, it must nonetheless document
such a material change in intent through an amended or new petition . . .” Matter of J-S-T Inc.,
2016 WL 3194527 at *6 n.3 citing 8 C.F.R. § 214.2(h)(2)(i)(E).
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*15 (dismissing appeal and finding that the evidence submitted “fails to establish non-

speculative employment” and that “there is a lack of substantive documentation regarding work

for the beneficiary for the duration of the requested period”); In re Petitioner at 7 (AAO Aug. 4,

2009) (available at https://www.uscis.gov/sites/default/files/err/D2%20-

%20Temporary%20Worker%20in%20a%20Specialty%20Occupation%20or%20Fashion%20Mo

del%20(H-1B)/Decisions_Issued_in_2009/Aug042009_21D2101.pdf) (Exh. 4) (dismissing

appeal because software development and consulting company provided no “substantive

evidence . . . regarding any particular substantive work that she would perform . . .”).

       In sum, even prior to the 2018 Guidance Memorandum, adjudicators denied H-1B

petitions in situations in which the petitioner failed to comply with the regulatory requirements

and the AAO repeatedly stated that these decisions are proper. It is certainly possible that,

notwithstanding these AAO decisions, individual adjudicators at USCIS may have interpreted

the regulatory requirements in a manner inconsistent with these AAO decisions or potentially not

even addressed the issue of whether the H-1B petitioner met these binding requirements. But

this simply underscores why it might make sense for an agency to provide written guidance to its

adjudicators regarding these requirements and provide clarification to the general public as to

these longstanding requirements by issuing the 2018 Guidance Memorandum.

       For these reasons, the parties engaging in discovery as to whether the agency was

inconsistent in its application of the binding regulatory requirements before the issuance of the

2018 Guidance Memorandum would not aid the Court in its resolution of any issue in this case.

       2. This Court should not address the pace at which USCIS adjudicates H-1B visa
          petitions at this time.

       Although the introduction to Plaintiffs’ memorandum in support of their consolidated

motion for summary judge briefly refers to the pace at which USCIS is adjudicating H-1B

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petitions, Dkt. 14-1 at 1-3, Plaintiffs are not seeking summary judgment with respect to this

issue. Moreover, they cannot do so. The Complaint filed by Plaintiff ITServe Alliance does not

raise any claim regarding the pace of adjudication of H-1B petitions or seek any relief with

respect to this issue. See Dkts. 1 & 6. Similarly, it does not appear that the Plaintiffs’ individual

claims challenge the agency’s pace of adjudication. Rather these individual claims are brought

by petitioners who submitted H-1B visa petitions that were either denied or approved for less

than the total time requested.

       Not only are Plaintiffs not bringing a claim regarding USCIS’ pace of adjudication, they

lack standing to bring such a claim. See Conservation Force, Inc. v. Jewell, 733 F.3d 1200, 1207

(D.C. Cir. 2013) (finding that plaintiffs lack standing given that their applications have now been

adjudicated and they have failed to allege any additional facts showing an injury-in-fact that can

be redressed by the court); see also, Gray v. Office of Pers Mgmt., 771 F.2d 1504, 1514 (D.C.

Cir. 1985) (finding action moot because it is unnecessary to compel agency to act on a claim

when it has already done so), cert. pet. denied, 475 U.S. 1089 (1986).5

       Assuming Plaintiffs could establish standing to proceed on this issue, a brief explanation

of the appropriate legal standard demonstrates why such a claim would nevertheless fail as a

matter of law. As a general matter, under 5 U.S.C. § 706(1), a court may “compel agency action

unlawfully withheld or unreasonably delayed.” Norton v. Southern Utah Wilderness Alliance,

542 U.S. 55, 62 (2004); see, e.g., Biodiversity Legal Foundation v. Norton, 285 F. Supp. 2d 1, 12




5
   The Ninth Circuit has noted that there might be situations in which USCIS’ delay in
adjudicating a visa petition might render any relief meaningless to the petitioner. See Ruiz-Diaz
v. United States, 618 F.3d 1055, 1060-61 (9th Cir. 2010) (explaining that petitioners’ “real
concern is that [if] USCIS does not process the petition for a special immigrant religious work
visa soon enough for it to do many of them any good). But this “conundrum” by itself is
insufficient to provide a basis for judicial relief. See id.
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(D.D.C. 2003) (explaining that “the issuance of equitable relief under section 706 of the APA is

an extraordinary remedy and the Court requires similarly extraordinary circumstances to be

present before it will interfere with an ongoing agency process”) (citations and quotations

omitted). The D.C. Circuit has articulated a six-part test for assessing claims of agency delay:

               (1) the time agencies take to make decisions must be governed by a rule of reason,

               (2) where Congress has provided a timetable or other indication of the speed with

       which it expects the agency to proceed in the enabling statute, that statutory scheme may

       supply content for this rule of reason,

               (3) delays that might be reasonable in the sphere of economic regulation are less

       tolerable when human health and welfare are at stake;

               (4) the court should consider the effect of expediting delayed action on agency

       activities of a higher or competing priority,

               (5) the court should also take into account the nature and extent of the interests

       prejudiced by delay, and

               (6) the court need not find any impropriety lurking behind agency lassitude in

       order to hold that agency action is unreasonably delayed.

       See Telecommunications Research Action Center v. F.C.C. (“TRAC”), 750 F.2d 70, 80

(D.C. Cir. 1984) (citations and quotations omitted).

       The D.C. Circuit has found that it is reversible error for a district court not to consider the

lack of agency resources before compelling agency action. See, e.g., Mashpee Wampanoag

Tribal Council, Inc. v. Norton, 336 F.3d 1094, 1101-2 (D.C. Cir. 2003) (“The district court erred

by holding the decision of the Secretary had been unreasonably delayed without first considering

the BIA's limited resources and the effect of granting relief upon other equally-deserving



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petitioners for recognition”). Moreover, even in situations involving a statutory deadline, the

D.C. Circuit has been reluctant to compel agency action. W. Coal Traffic League v. Surface

Transp. Bd., 216 F.3d 1168, 1175 (D.C. Cir. 2000) (holding “we will not dictate that the Board

must comply with a [statutory] deadline for determining whether a merger application is in the

public interest when . . . it needs time to reconsider its standards for evaluating the public

interest.”); see generally, In re Barr Labs., Inc., 930 F.2d 72, 76 (D.C. Cir. 1997) (declining to

enter an injunction compelling the agency to act because courts “have no basis for reordering

agency priorities”). This is consistent with the general principle that an agency has “broad

discretion to choose how best to marshal its limited resources” to enforce the law. See Mass. v.

EPA, 549 U.S. 497, 527 (2007).6

       Moreover, the Supreme Court has instructed that courts should not order agencies to do

the impossible. See OPM v. Richmond, 496 U.S. 414, 433 (1990) (explaining that it “ignores

reality to expect that the Government will be able to secure perfect performance from its

hundreds of thousands of employees scattered throughout the continent”). The reasoning behind

this principle is simple: it is not appropriate for a court to “order a party to jump higher, run




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  In addition, courts have also explained that “sense of Congress” provisions are generally
considered to be no more than non-binding statements of policy. See Yang v. Cal. Dep’t of Soc.
Servs., 183 F.3d 953, 959 (9th Cir. 1999) (“[T]he courts rely on the sense of Congress provisions
to buttress interpretations of other mandatory provisions and do not interpret them as creating
any rights or duties by themselves”); Monahan v. Dorchester Counseling Ctr., Inc., 961 F.2d
987, 994–95 (1st Cir. 1992); Trojan Techs., Inc. v. Pa., 916 F.2d 903, 908–09 (3d Cir. 1990),
see, e.g., Bemba v. Holder, 930 F. Supp. 2d 1022, 1031 (E.D. Mo. 2013) (finding the “sense of
Congress” regarding the proposed processing times set forth in 8 U.S.C. § 1571(b) is “non-
binding”); Carter v. Dep’t of Homeland Sec., No. 07-12953, 2008 WL 205248, at *2 (E.D. Mich.
Jan. 24, 2008) (finding that 8 U.S.C. § 1571(b) is non-binding, legislative dicta and that when
Congress “intends to set a time limit for the determination of an immigration benefit, it has done
so”).


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faster, or lift more than she is physically capable.” Am. Hosp. Ass’n v. Price, 867 F.3d 160, 167–

68 (D.C. Cir. 2017).

       Here, USCIS advises that given the volume of H-1B visa petitions, it lacks the resources

to adjudicate all H-1B visa petitions within 30 days. See Neufeld Decl. at ¶¶ 2, 5, 21. The

number of H-1B petitions received by USCIS has steadily increased in recent fiscal years. Id. at

¶ 3. This increased volume has been a contributing factor to the increase in processing times to

adjudicate H-1B petitions. Id. at ¶ 6. USCIS recognizes that backlogs are a problem and is

taking a number of steps to address the issue. See id. at ¶ 14. Specifically, USCIS has hired

additional staff and trained additional officers to adjudicate the increased volume of H-1B

petitions. See id. at ¶¶ 14-17. USCIS further notes prior to the 2018 Guidance Memorandum,

USCIS took longer than 30 days to adjudicate petitions.7 Thus, any assertion by Plaintiffs that

current processing time are somehow indicative of USCIS imposing new legislative rules is

without merit. H-1B processing times have long exceeded 30 days for myriad of reason

unrelated to the 2018 Guidance Memorandum, and the fact that USCIS currently does not, and

historically has not, processed all H-1B petitions within 30 days of filing has no bearing on

whether the 2018 Guidance Memorandum is a legislative or interpretative rule.

       With respect to the H-1B petition filed by VSION Technologies (“VSION”) (receipt

number WAC-18-151-52795) that was referenced at the hearing on May 9, 2019, USCIS advises

that there were extenuating circumstances that prevented USCIS from adjudicating the petition

more quickly. See Nguyen Decl. at ¶¶ 3-11 (explaining why, even though the petition was filed



7
  See Vermont Service Center Processing Time Report (2/28/17) -
https://www.aila.org/infonet/processing-time-reports/vsc/2017/vsc-processing-time-report-02-
28-17, and California Center Processing Time Report (2/28/17) -
https://www.aila.org/infonet/processing-time-reports/csc/2017/csc-processing-time-report-02-28-
17.
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on April 2, 2018, USCIS did not grant it until February 1, 2019). Specifically, VSION’s petition

was selected for adjudication in the lottery on April 11, 2018. Id. at ¶ 5. With the initial petition,

VISION submitted (i) an itinerary that they prepared indicating that a company (“T”) was the

establishment where the services were to be performed for the dates of October 1, 2018 to

August 31, 2021, and (ii) a letter written by VISION which describes the proffered position as

“Software Engineer” but does not mention T. Id. VSION did not submit any documents from T

verifying the arrangement. Id.

       On June 16, 2018, 66 days after the petition was selected in the lottery, USCIS sent

VISION a Request for Evidence (“RFE”) requesting, among other items, evidence verifying the

claimed employment. Id. at ¶ 6. One September 11, 2018, 85 days after receiving the RFE,

VISION responded. Id. Given various inconsistencies with the response, on November 6, 2018,

the petition was referred to the CSC Center Fraud Detections Operation (“CFDO”). Id. at ¶ 7.

On December 10, 2018, 25 days later, USCIS sent a second RFE to VSION. Id. at ¶ 9. VISION

waited until January 23, 2019, to respond. Id. On February 1, 2019, 9 days after the second RFE

response was received, the petition was approved. Id. at ¶ 10.

       In sum, this was an unusual matter in that, not only was it part of a large submission of

H-1B petitions which required extensive administrative proceeding, but it then involved two

separate RFEs and a referral to the CFDO to verify information from the end client. To be clear,

USCIS took action with respect to the petition within 66 days of the petition being selected in the

lottery (sending the first RFE). Id. at ¶ 6. And USCIS approved the petition, nine days after

receiving VISION’s response to the second RFE. Id. at ¶¶ 9-10. Moreover, part of the delay in

adjudication stems from the decision by the petitioner to wait 85 days to respond to the first RFE

and then waiting 44 days to respond to the second RFE. Id. at ¶¶ 6, 9.



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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document(s) filed through the CM/ECF system will be sent

electronically to the registered participants. There are no unregistered participants.

                                                      s/ Aaron S. Goldsmith
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